Case 06-10771-jal       Doc 23     Filed 03/06/19       Entered 03/07/19 00:59:30            Page 1 of 2

                 UNITED STATES BANKRUPTCY COURT
                                 Western District of Kentucky
        IN RE:                                                        Case No.:06−10771−jal
        James H. Roberts and
        Marsha L. Roberts
                                                                      Chapter: 7
                                  Debtor(s)                           Judge: Joan A. Lloyd




                                              NOTICE
        TO THE DEBTOR(S) AND ALL PARTIES IN INTEREST:

        Please be advised that the following matter has been Entered by the Court on this date:

        Order Granting United States Trustee Motion To Reopen Case (Related Doc # 20). The
        United States Trustee to appoint a trustee in this case. Entered on 3/4/2019. (Allen, A)



        Dated: 3/4/19
                                                             FOR THE COURT
        By: aa                                               Elizabeth H. Parks
        Deputy Clerk                                         Clerk, U.S. Bankruptcy Court
         Case 06-10771-jal            Doc 23        Filed 03/06/19         Entered 03/07/19 00:59:30                 Page 2 of 2
                                               United States Bankruptcy Court
                                               Western District of Kentucky
In re:                                                                                                     Case No. 06-10771-jal
James H. Roberts                                                                                           Chapter 7
Marsha L. Roberts
         Debtors
                                                 CERTIFICATE OF NOTICE
District/off: 0644-1                  User: aallen                       Page 1 of 1                          Date Rcvd: Mar 04, 2019
                                      Form ID: 266                       Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Mar 06, 2019.
db/jdb         +James H. Roberts,   Marsha L. Roberts,   1271 Pelly Lane,   Columbia, KY 42728-9009

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Mar 06, 2019                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on March 4, 2019 at the address(es) listed below:
              Charles R. Merrill    ustpregion08.lo.ecf@usdoj.gov
              Christopher M. Hill    on behalf of Creditor   AMC Mortgage Services, Inc., as loan servicer for
               Ameriquest Mortgage Company chrish@hillslaw.com, tinariggs@hillslaw.com
              James R. Laramore    on behalf of Creditor   Campbellsville National Bank jrlaramore@bellsouth.net,
               brenick@bellsouth.net
              Mark H. Flener    mark@Flenerlaw.com, ky11@ecfcbis.com;deanna@flenerlaw.com
              Tim Ruppel     on behalf of US Trustee Charles R. Merrill ustpregion08.lo.ecf@usdoj.gov,
               tim.ruppel@usdoj.gov;timmy.ruppel@gmail.com
                                                                                             TOTAL: 5
